                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TENNESSEE
                                GREENEVILLE DIVISION

  B.P., H.A., and S.H. individually, and
  On behalf of all others similarly situated,

                 Plaintiffs,

  v.                                                    No: 2:23-cv-00071-TRM-JEM



  CITY OF JOHNSON CITY, TENNESSEE, et al.,

              Defendants.
  __________________________________/
                     JOINT MOTION TO AMEND SCHEDULING ORDER

         COME NOW Plaintiffs B.P., H.A., and S.H., individually and as proposed class

  representatives of all others similarly situated, (“Plaintiffs”), Defendants City of Johnson City,

  Tennessee, Karl Turner, Kevin Peters, Toma Sparks, Justin Jenkins, Jeff Legault, and Brady

  Higgins (together, “Defendants”), (collectively, the “Parties”), through their respective

  undersigned counsel, who request the following amendments to the case schedule.

         On November 28, 2023, the Court issued a Scheduling Order. Doc 86. The Scheduling

  Order set a June 10, 2024 deadline for expert disclosures under Rule 26(a)(2)(B) and Rule

  26(a)(2)(C), with rebuttals due by July 10, 2024. The Parties request an extension to file expert

  disclosures to August 13, 2024, with any rebuttals due by September 13, 2024.

         On December 12, 2023, the Court amended the scheduling order in this matter. Doc. 95.

  The amended Order set deadlines for all dispositive motions under Rule 12 to be filed no later

  than April 1, 2024, and for any responses to those motions to be filed on or before May 1, 2024.

  To date, four Rule 12 motions have been filed. Plaintiffs will respond to all Rule 12 motions by

  May 1, 2024.

                                                    1

Case 2:23-cv-00071-TRM-JEM Document 149 Filed 04/04/24 Page 1 of 6 PageID #: 2196
         The existing deadlines concerning class certification are August 15, 2024 for the motion,

  and September 16, 2024 for the opposition. No deadline is set for reply. The Parties request that

  the Plaintiffs’ motion be due October 9, 2024, Defendants’ opposition be due by November 15,

  2024, and Plaintiffs’ reply in support of class certification be due by December 6, 2024.

         No further changes to the case schedule are requested at this time.

         Subject to the Court’s approval, the second amended case schedule would be as follows:

                  Motion                                         Deadline
                  Rule 12 Motions                                April 1, 2024

                  Responses to Rule 12 Motions                   May 1, 2024

                  Disclosure of any expert testimony             August 13, 2024

                  Disclosure of rebuttal expert testimony        September 13, 2024.

                  Motion for Class Certification                 October 9, 2024

                  Final Witness List                             November 4, 2024

                  Response to Motion for Class Certification     November 15, 2024.

                  Discovery Cut Off                              December 2, 2024

                  Reply in support of Motion for Class           December 6, 2024

                  Certification

                  Rule 56 Motions for Summary Judgment           December 30, 2024

                  Daubert Motions                                December 30, 2024

                  Pretrial Disclosures                           March 3, 2025

                  Motions in Limine                              March 10, 2025

                  Objections to admissibility of deposition      March 24, 2025

                  testimony



                                                   2

Case 2:23-cv-00071-TRM-JEM Document 149 Filed 04/04/24 Page 2 of 6 PageID #: 2197
                  Stipulations of Fact                            March 24, 2025

                  Joint Proposal for Jury Instructions            March 24, 2025

                  Trial Brief and joint proposed final pretrial   March 24, 2025

                  order

                  Identify deposition testimony that will be      March 24, 2025

                  presented at trial

                  Objections to deposition testimony              March 28, 2025

                  Final Pretrial Conference                       March 31, 2025

                  Trial                                           April 14, 2025



   Dated April 4, 2024.                       Respectfully submitted,

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                                                   3

Case 2:23-cv-00071-TRM-JEM Document 149 Filed 04/04/24 Page 3 of 6 PageID #: 2198
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                                        4

Case 2:23-cv-00071-TRM-JEM Document 149 Filed 04/04/24 Page 4 of 6 PageID #: 2199
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                                        5

Case 2:23-cv-00071-TRM-JEM Document 149 Filed 04/04/24 Page 5 of 6 PageID #: 2200
                                  CERTIFICATE OF SERVICE

  I HEREBY certify that a copy of the foregoing has been filed and served via the court's
  electronic filing system on April 4, 2024 to counsel of record:

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                                                   6

Case 2:23-cv-00071-TRM-JEM Document 149 Filed 04/04/24 Page 6 of 6 PageID #: 2201
